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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 19-62616-CIV-ALTMAN

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  1984 CESSNA 550 CITATION II JET
  AIRCRAFT, SERIAL NO. S550-0020,
  REGISTRATION NO. YV3325, in rem,

         Defendant.
                                                /

                      ORDER OF FORFEITURE BY DEFAULT JUDGMENT

         THIS MATTER is before the Court upon Motion of the United States of America (the

  “United States”) for entry of an Order of Forfeiture by Default Judgment against the above-

  captioned Defendant In Rem (the “Motion”) [ECF No. 14]. Having reviewed the Motion, the

  record, and the applicable law, the Court finds as follows:

         1.      On October 21, 2019, the United States filed a Verified Complaint [ECF No. 1] for

  Forfeiture In Rem alleging that the following asset was subject to forfeiture to the United States

  pursuant to 19 U.S.C. § 1595a(a): 1984 Cessna 550 Citation II Jet Aircraft, Serial No. S550-0020,

  Registration No. YV3325 (the “Defendant Aircraft”).

         2.      The United States published notice of this action for at least thirty (30) consecutive

  days beginning on November 16, 2019 and ending on December 15, 2019, as required by

  Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims and Asset

  Forfeiture. See Declaration of Publication [ECF No. 11].

         3.      On or about October 28, 2019, the Government sent notice of the forfeiture action
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  to Moinica Ortigoza, which she received on or about October 30, 2019. See Motion for Clerk’s

  Default Ex. 1 [ECF No. 12-1]. On October 29, 2019, the Government sent notice of the forfeiture

  action via email to counsel for Eddwin Solarzano, who subsequently verbally acknowledge receipt.

  See id. Ex. 2 [ECF No. 12-2]. The notice informed both individuals of their obligation to file a

  verified claim in the civil forfeiture proceedings. See id. Ex 1–2.

         4.      The Verified Complaint alleged that the Defendant Aircraft arrived at Fort

  Lauderdale Executive Airport from Caracas, Venezuela on or about September 20, 2019. CBP

  officers then conducted an examination of the Defendant Aircraft, during which one officer

  observed loose rivets and missing screws on the nose compartment of the Defendant Aircraft.

  Upon further examination inside the nose compartment of the Defendant Aircraft, the officers

  discovered a concealed compartment, also known as a “trap,” underneath flat sheet metal. The trap

  held bags containing gold bars that weighed approximately 230 pounds. See Compl.

         5.      Neither Moinica Ortigoza nor Eddwin Solarzano has filed a claim as to the

  Defendant Aircraft.

         6.      To date, no other claims have been filed for the Defendant Aircraft, and the time

  for doing so has expired.

         7.      On January 21, 2020 a Default by the Clerk of Court, pursuant to Fed. R. Civ. P.

  55(a), was entered against the Defendant Property. See Clerk’s Default [ECF No. 13].

         THEREFORE, the United States’ Motion for Entry of Order of Forfeiture by Default

  Judgment Pursuant to Fed. R. Civ. P. 55(b)(2) [ECF No. 14] is GRANTED. The Clerk of Court

  is directed to CLOSE this case. Any pending motions are DENIED as moot. Accordingly, the

  Court hereby

         ORDERS AND ADJUDGES that:

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            1.    Default judgment is entered in favor of the United States and against Defendant

  Aircraft, to wit, one 1984 Cessna 550 Citation II Jet Aircraft, Serial No. S550-0020, Registration

  No. YV3325, and against all other persons for failure to timely plead, answer, or otherwise

  respond;

            2.    The Defendant Aircraft, to wit, 1984 Cessna 550 Citation II Jet Aircraft,

  Serial No. S550-0020, Registration No. YV3325, is forfeited to the United States.

            3.    An agent of the Homeland Security Investigations, or any duly authorized law

  enforcement official, may seize, take possession, and dispose of the forfeited property according

  to law;

            4.    The Court shall retain jurisdiction in this matter for the purpose of enforcing this

  Order.

            DONE AND ORDERED in Fort Lauderdale, Florida, this 21st day of January 2020.




                                                        ROY K. ALTMAN
                                                        UNITED STATES DISTRICT JUDGE

  cc: counsel of record




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